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                                                                                   U.S. DISTRICT COURT
                                                                                  OIST!~ICT OF W:BRASKA

                                                                                   2022 NOV 2 I PM 2: l13
                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA                        OFFICE OF THE CLERK
UNITED STATES OF AMERICA,

                         Plaintiff,
                                                                      . 8:21CR246
       vs.
                                                                 PLEA AGREEMENT
OLIVER J. GLASS,

                         Defendant.


       IT IS HEREBY AGREED between the plaintiff, United States of America, through its
counsel, Steven A. Russell, Acting United States Attorney and Sean P. Lynch, Assistant United
States Attorney, and defendant, Oliver J. Glass, and Clarence E. Mock, III, counsel for
defendant, as follows:
                                                  I
                                            THE PLEA
A.     CHARGE(S) & FORFEITURE ALLEGATION(S).
       Defendant agrees to plead guilty to Count I of the foformatioh. Count I charges a
violation of Title 18, United States Code, Section 371.
B.     In exchange for the defendant's plea of guilty as indicated above, the United States
agrees as follows:
        i.     The United States will move to dismiss the Inclict.ment at the time of sentencing.
       2.      The United States agrees that the defendant will not be federally prosecuted in the
District ofNebraska for crimes as disclosed by the discovery material delivered to the
defendant's attorney as of the date this agreement is signed by all pai1ies, other than as set forth
in pai"agraph A, above. This agteement not to prosecute the defendant for specific crimes does
not ptevent any prosecuting authority from prosecuting the defendant for any other crime, or for
any crime involving physical injury or death.




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                                                     II
                                  NATURE OF THE OFFENSE
A.     ELEMENTS EXPLAINED.
       Defendant understands that the offense to which defendant is pleading guilty has the
following elements:
       1.      Defendant and at least one other person agreed to commit a crime, to wit: to
               deprive someone of rights under color of law;
       2.      Defendant knew the unlawful purpose of the agreement and joined in it willfully,
               that is, with the intent to further the unlawful purpose; and
       3.      That at lt;ast one of the conspirator's during the existence of the conspiracy
               knowit1gly committed at least one of the ove1t acts in orde!' to accomplish some
               object of the conspiracy.
B.     ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS.
       Defendant has fully discussed the facts of this case with defense counsel. Defendant has
committed each of the elements of the crime and admits that there is a factual basis for this guilty
plea. The following facts are true and u1'1disputed.
       1.      0 live1' J. Glass was appointed as the Dodge County Attorney in 2011 and was

               subsequently elected in 2014 and then reelected in 2018. In 2020, Glass's wife

               filed for divorce. On March 6, 2020, Glass learned that his wife had been dating

               Victim I.

       2.      Between March 6, 2020, through on or about December 22, 2020, Glass conspired

               with other unnamed individuals to deprive Victim 1 of his rights protected by the

               Constitution, specifically, his right agaii1st unreasonable search and seizure

               protected by the 4th Amendment of the Constitution by conspidng to unlawfully

               stop or arrest Victirri   1. Glass and others utilized their restricted access to the
               Nebraska Criminal Justice Information System (NCJIS) to obtain information

               about Victim I. A supervisor in the Fremont Police Department ac(vised other



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               officers that Victim l was dating Glass's wife and to be on the lookout for Victim

               1 and provided other officers with Victim 1's information, vehicle description,

               and license plate number. An officer within the Dodge County law enforcement

               community, while acting as a private investigator, used his law enforcement

               credentials to obtain access about Victim 1 's criminal history that was not

               publicly available. Members of law enforcement in Dodge County would drive by

               Victim l's apartment looking for Vicdm 1 without a legal justification or criminal

               predicate.



                                                 III
                                           PENALTIES
A.     COUNT I. Defendant understands that the crime to which defendant is pleading guilty
carries the following penalties:
       1.      A maximum 1 year in prison;
       2.      A maximum $100,000 fine;
       3.      A mandatory special assessment of $25 per count; and
       4.      A term of supervised release of not more than l year. Defendant understands that
               failure to comply with any of the conditions of supervised release may result in
               revocation of supervised release, requiring defendant to serve i11 prison all or part
               of the term of supervised release.
       5.      Possible ineligibility for certain Federal benefits.


                                                 IV
                 AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE
                           DISTRICT OF NEBRASKA


       This plea agreement is limited to the United States Attorney's Office for the District of
Nebraska, and cann9t bind any other federal, state or local prosecuting, administrative, or
regulatory authorities.


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                                     SENTENCING ISSUES
A.     SENTENCING AGREEMENTS.
       Although the parties understand that the Guidelines are advisory and only one of the
factors the court will consider under 18 U.S.C. § 3553(a) in imposing a sentence, the parties will
jointly recommend the following Base Offense Level, Specific Offense Characteristics,
Adjust1iients atid Depa1tures (if applicable). Unless otherwise stated, all agreements as to
sentencing issues are made pursuant to Federal Rule of Criminal Procedure l l(c)(l)(B).
       1.      If the defendant is found to be entitled to an offense level reduction under
U.S.S.G. 3El.l(a) for acceptance of responsibility, the United States hereby moves that the comt
reduce the defendant's offense ievel by one additional level, pursuant to U.S.S.G. § 3El.l(b), if
that paragraph otherwise applies.
B.     ACCEPTANCE OF RESPONSIBILITY.
       Notwithstanding paragraph A above, the United States will not recommend any
adjustment for Acceptance of Responsibility if defendant:
                   1.     Fails to admit a complete factual basis for the guilty plea at the time it is
                          entered, or
                   2.   . Denies involvement in the offense, gives conflicting statements about
                          that involvement, or is untruthful with the court or probation officer, or
                   3.     Fails to appear in court, or
                   4.     Engages in additional criminal conduct, or
                   5.     Attempts to withdraw the guilty plea, or
                   6,     Refuses to al:>ide by any lawful court order, or
                   7.     Contests or assists any third party in contesting the forfeiture of
                          prope1ty(ies)seized orforfeited in connection with this case.

       The parties further agree the defendant will make no "blanket" objections to the
criminal history calcuh1tion (specific objections based on stated grounds are permitted).
Objections to criminal history on the basis that the defendant was not the person who was
convicted of the offense(s) described in the presentence investigation report or on the basis
that the defendant was not represented by counsel in connedion with such conviction(s), if
determined to be unfounded, are evidence the defendant has not accepted responsibility
a,11d the parties agre~ JIO credit for acceptance of responsibility should be given.

c.     ADJUSTMENTS, DEPARTURES & REDUCTIONS UNDER 18 O.S.C. § 3553.



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       The parties agree that defendant may request or recommend additional downward
adjustments, depmtures, including criminal history departures under U.S.S.G. § 4Al .3, and
sentence reductions under 18 U.S.C. § 3553(a), and that the United States will oppose any such
downward adjustments, departures, and sentence reductions not set fmth in Section V, paragraph
A above.
D.     CRIMINAL HISTORY.
The patties have no agreement concerning the defendant's Criminal History Category, except

that if defendant is determined to be a Career Offender, the parties agree that the defendant is

automatically a Criminal History Category VI pursuant to U.S.S.G. § 4B 1.1 (b).

E.     "FACTUAL BASIS" AND "RELEVANT CONDUCT" INFORMATION.
       The parties agree that the facts in the "factual basis" paragraph of this agreement, if any,
are true, and may be con.sidered as "relevant conduct" under U.S.S.G. § 1B 1.3 and as the nature
and circumstances of the offense under 18 U.S.C. § 3553(a)(l).
       The parties agree that all information known by the office of United States Pretrial
Service may be used by the Proba,tion Office in submitting its presentence report, and may be
disclosed to the court for purposes of sentencing.


                                                 VI
            DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK
       The defendant hereby knowingly and expressly waives any and aJl rights to appeal the
defendant's conviction and sentence, including any restitution order in this case, and including a
waiver of all motions, defenses, and objections which the defendant could assert to the charges
or to the Comt's entry of Judgment against the defendant, and including review pursuant to 18
U.S.C. § 3742 of any sentence imposed, except:
                   (a) As provided in Section I above, (if this is a conditional guilty plea); and
                   (b) A claim of ineffective assistance of c;ounsel.
                   (c) A right to file a motion under Section 3582(c)(l)(A);
                         1. the general right to file a compassionate release motion;
                         2. the right to file a second or successive such motion; or
                         3. the right to appeal the denial of a compassionate release.


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       The defendant further knowingly and expressly waives any and all rights to contest the
defendant's conviction ~nd sentence in any post-conviction proceedings, including any
proceedings under 28 U.S.C. § 2255, except:
                   (a) The right to timely challenge the defendant's conviction and the sentence
of the Court should the Eighth Circuit Court of Appeals or the United States Supreme Court later
find that the charge to which the defendant is agreeing to plead guilty fails to state a crime.
                   (b) The right to seek post-conviction relief based on ineffective assistance of
counsel.
       If defendant breaches this plea agreement, at any time, in any way, including, but not
limited to, appealing or collaterally attacking the conviction or sentence, the United States may
prosecute defendant for ariy counts, including those with mandatory minimum sentences,
dismissed or not charged pursuant to this plea agreement. Additionally, the United States may
use any factual admissions made by defendaqt pursuant to this plea agreement in any such
prosecution.
                                                 VII
                                  BREACH OF AGREEMENT
       Should it be concluded by the United States that the defendant has committed a crime
subsequent to signing the plea agreement, or otherwise violated this plea agreement, the
defendant shall then be subject to prosecution for any federal, state, or local crime(s) which this
agreeinent otherwise anticipated would be dismissed or not prosecuted. Any such prosecution(s)
may be premised upon any information, statement; or testimony provided by the defendant.
       In the event the defendant commits a crime or otherwise violates any term or condition of
this plea.agreement, the defendant shall not, because of such violation of this agreement, be
allowed to withdraw the defendant's plea of guilty, and the United States will be relieved of any
obligation it otherwise has under this agreement and may withdraw any motions for dismissal of
charges or for sentence reliefit had already filed.
                                                VIII
                                   SCOPE OF AGREEMENT
       A. This plea agreement embodies the entire agreement between the parties and
supersedes any other agreement, written or oral.



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        B. By signing this agreement, the defendant agrees that the time between the date the
defendant signs the agreement and the date of the guilty plea will be excluded under the Speedy
Trial Act. The defendafit stipulates that such pedod of delay is necessary in order for the
defendant to have oppmtunity to enter the anticipated plea of guilty, and that the ends of justice
served by such perioq of delay outw~igh the best inte1;est of the defendant and.the public in a
speedy trial.
        C. The United States may use against the defendant any disclosure(s) the defendant has
made pursuant to this agreement in any civil proceeqing. Nothing contained in this agreement
shall in any manner limit the defendant's civil liability which may otherwise be found to exist, or
in any m&nner limit or prevent the United States from pursuing any applicable civil remedy,
including but not limited to remedies regarding asset forfeiture and/or taxation.
        D. Pursuant to 18 U.S.C. § 3013, the defendant will pay to the Clerk of the District Court
the mandatory special as,sess_ment of $100 for each felony count to which the defendant pleads
guilty. The defendant will make this payment at or before the time of sentencing.
        E. By signing this agreement, the defendant waives the right to withdraw the defendant's
plea of guilty pursuant to Federal Rule of Criminal Procedure 11 ( d). The defendant may only
withdraw the gliilty plea in the event the court rejects the plea agreement pursuant to Federal
Rule of Criminal Procedure 11 ( c )(5). Furthermore, defendant understands that if the court
rejects the plea agreement, whether or not defendant withdraws the guilty plea, the United States
is relieved of any obligation it had under the agreement and defendant shall be subject to
prosecution for any federal, state) or local crime(s) which this agreement otherwise anticipated
would be dismissed o:r .not prosecuted.
        F. This agreement may be withdrawn by the United States at any time prior to its being
signed by all parties,
                                                 IX
                MODIFICATION OF AGREEMENT MUST BE IN WRITING
        No promises, Mr~ements or conditions have been entered into other than those set forth
in this agreement, .and none will be entered into unless in writing and signed by all parties.




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             DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT
       By signing this agi"eement, defendant certifies that defendant read it (or that it has been
read to defendant in defendant's native language). Defendant has discussed the terms of this
agreement with defense cpunsel and fully understands its meaning and effect.


                                              UNITED STATES OF AMERICA
                                              STEVEN A. RUSSELL
                                              Acting United States Attorney




Date
        10/28/22
                                             ~~~~
                                              ASSISTANT U.S. ATTORNEY



Date     '     /                                       . ·.   LASS



                                                        .~ ')tA(~£LL
Date                                          CLARENCE E. MOCK, III
                                              COUNSEL FOR DEFENDANT




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